Case 3:19-cr-00606-L URS Sere HS FRCP co 1of1 PagelD 41

NORTHERN DISTRICT OF TEXAS

 

 

 

DALLAS DIVISION
HONORABLE: David L. Horan PRESIDING:
DEPUTY CLERK: S. Todd COURT REPORTER/TAPE NUMBER: FTR
LAW CLERK: USPO:
INTERPRETER: Date: December 12, 2019

 

Cr.No.3:19-cr-00606-L
UNITED STATES OF AMERICA
Vv.
JOHN RUTLEDGE (1)
‘

Time in Court: rr
Trial Status:

C1 Completed by Jury Verdict

OG- [:10

DEFT. No.

 

__ Shane Read , AUSA

 

____Erin Brennan (F)

 

COUNSEL FOR DEFENDANTS APPT - (A), Retd — (R), FPD — (F)

Or Wr 7

———

C ARRAIGNMEN }/REARRAIGNMENT

OC Continued from Previous Month (I Direct Verdict © Evidence Entered

1) Hung Jury CO Jury Selection Only, continued O Jury Selection or Verdict Only (No Trial Before this Judge)

O Mistrial
Days in Trial:

Hearing Concluded: O Yes
OL Defendant SWORN.

Arraignment CL Rearraignment — Held on Count(s) _1-3
ofthe 3 count(s) E*Tndictment

LH Sentencing Guidelines
C)beft enters a pleas of
1) Waiver of Jury Trial

LO Waiver of Indictment filed
O Plea Agreement accepted
() Plea Agreement filed (see agreement for details) [J No Plea Agreement

© Plea Agreement included with Factual Resume.

C Factual Resume filed.
O Sentencing set Date:

O Trial set for Date:
Pretrial motions due:

OO No

D Settled/Guilty OO None

 

OJ Information O Superseding Indictment [1 Complaint
XO) Superseding Information

Exot Guilty © Guilty O Nolo

 

US DISTRICT
NORTHERN DISTRICT OF TEXAS
FILED

 

C Court defers acceptance of Plea Agreemgnt

 

 

 

CLERK, U.S. DISTRICT COURT
By

Time:

 

 

 

  

Time:
Discovery motions/Government Responses due:

O Orders for PSI, Disclosure Date and Setting Sentencing entered.

C] PSI waiver filed.
C] Deft Bond O Set

PSI due:
OC reduced to $

Pre-sentence Referral Form to:

O Cash C) Surety 010%

 

O PR

O) Deft failed to appear, bench warrant to issue.

CJ continued

OO forfeited

CO Bond
Deft Custody/Detention continued.

C] Deft REMANDED to custody.

OTHER PROCEEDINGS:

 

 
